          Case 1:23-cr-00135-RP Document 109 Filed 05/21/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                        §
                                                §
vs.                                             §      NO: AU:23-CR-00135(1)-RP
                                                §
(1) Saint Jovite Youngblood                     §


                                          ORDER


       It is ORDERED that the Ex Parte Motion (Doc. 107) filed on May 14, 2024, is hereby

REFERRED to United States Magistrate Judge Mark Lane for resolution pursuant to 18 U.S.C. §

3006A(b), 28 U.S.C. § 636(b)(1)(A), and Rule 44 of the Federal Rules of Criminal Procedure.

       SIGNED this 21st day of May, 2024.




                                                    ______________________________
                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE
